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    8                         UNITED STATES DISTRICT COURT
    9                       CENTRAL DISTRICT OF CALIFORNIA
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   11    GREGORY CLAYBORN,                       Case No. CV 19-7958-GW-PLAx

   12                       Plaintiff,

   13          v.                                  ORDER TO DISMISS WITHOUT
                                                   PREJUDICE
   14    RETINA MACULA INSTITUTE,
         et al.,
   15
                            Defendants.
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              Based upon the stipulation between the parties and their respective counsel,
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        it is hereby ORDERED that this action is dismissed without prejudice in its
   20
        entirety. Each party will bear its own attorneys’ fees and expenses.
   21
              IT IS SO ORDERED.
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   23
        Dated: November 5, 2020
   24
                                               _________________________________
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                                               HON. GEORGE H. WU,
   26                                          UNITED STATES DISTRICT JUDGE
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